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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )       CR 117-047
                                                 )
SHAWANDA CUYLER                                  )
                                             _________

                                             ORDER
                                             _________

       Before the Court is Defendant’s unopposed motion for a mental evaluation pursuant

to 18 U.S.C. §§ 4241 and 4242, to determine Defendant’s competency to stand trial. Upon

consideration, the Court GRANTS the request and ORDERS a psychiatric evaluation of

Defendant.

       Because Defendant is not being detained, a custodial evaluation by the Attorney

General is inappropriate. The Court may commit a defendant for up to thirty days to the

custody of the Attorney General for an evaluation at a BOP facility, but a custodial

evaluation is not required. See 18 U.S.C. § 4247(b). Given Defendant is not being detained

and a lengthy observation period is likely not required, a noncustodial evaluation is more

appropriate, and the Court will appoint a local expert to conduct Defendant’s evaluation as

set forth in further detail below. See id.

       Within fourteen days of this Order, defense counsel should nominate a licensed or

certified psychiatrist or clinical psychologist by a filing that attaches the nominee’s resume

or CV. See id. (requiring a “licensed or certified psychiatrist or psychologist”). The Court

will then appoint an examiner to conduct the evaluation, set a time period within which
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Defendant must submit to be examined, and outline the parameters of the evaluation and the

necessary contents of the report. Once the evaluation is completed, the evaluator will be

responsible for submitting the report to the Court, upon receipt of which the Court will file

the report under seal and schedule a competency hearing under 18 U.S.C. § 4247(d). Under

the Guide to Judiciary Policy § 320.20.60, financial responsibility for the mental evaluation

will be the responsibility of the Department of Justice and all invoices must be submitted to

the U.S. Attorney.

       IT IS FURTHER ORDERED the period of time required for appointment of the

examiner, testing and evaluation of Defendant, and preparation of the written report, is

excludable from calculation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(l)(A).

       SO ORDERED this 15th day of November, 2017, at Augusta, Georgia.




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